                                                                      Haddon, Morgan and Foreman, P.C
                                                                                   Laura A. Menninger


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March 17, 2020

Honorable Loretta A. Preska
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

Re: October 28, 2019 Order (Doc. 998)
    Giuffre v. Ghislaine Maxwell, No. 15 Civ. 7433 (LAP)

Dear Judge Preska:

        Attached please find Ms. Maxwell’s List of Decided Motions, including in the last
column those exhibits and deposition page numbers previously released by the 2nd Circuit.
With this list, Ms. Maxwell has clarified (a) which pages are included in each Sealed Exhibit,
and (b) which of those pages were released in their entirety by the 2nd Circuit.

        Counsel for Ms. Maxwell has conferred with Plaintiff’s counsel and believes our
respective lists contain identical information disclosed in slightly different ways, with one
exception. As outlined in her letter to this Court on November 12, 2019 (DE # 1007), Ms.
Maxwell submits that DE # 468 and 567 were motions never resolved by Judge Sweet and
thus has omitted those motions and associated pleadings from her list.

       Ms. Maxwell seeks leave of the Court to submit this list under seal because much of its
contents contain references to sealed or redacted materials.


                                              Very truly yours,



                                              Laura A. Menninger

CC: Counsel of Record via ECF

Enclosure (Filed under seal)
